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                                                                         7                         UNITED STATES DISTRICT COURT
                                                                         8             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                         9   DANIEL NERSOYAN,                           CASE NO. CV19-08109 SVW (MAAx)
                                                                        10
                                                                                                 Plaintiff,             (PROPOSED) ORDER ON
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                                        DEFENDANT’S MOTION FOR
                                                                        12                v.                            SUMMARY JUDGMENT OR, IN
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                                                                        THE ALTERNATIVE, MOTION
                                 TORRANCE, CALIFORNIA 90503




                                                                        13   COUNTY OF LOS ANGELES, a
                                                                             county corporation; COUNTY OF LOS          FOR PARTIAL SUMMARY
                                                                        14   ANGELES SHERIFF’S                          JUDGMENT
                                                                             DEPARTMENT, a public entity;
                                                                        15   SHERIFF JAMES MCDONNELL, in
                                                                             his official capacity and as an
                                                                        16   individual; DEPUTY KENNETH                 Action Filed: September 18, 2019
                                                                             COLLINS, individually and in his           Trial Date: January 12, 2021
                                                                        17   official capacity as a Deputy, and
                                                                             DOES 1 through 10, inclusive
                                                                        18

                                                                        19                       Defendants.

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                                                                        21         After consideration of all papers submitted in favor of and in opposition to
                                                                        22
                                                                             Defendant’s Motion for Summary Judgment or, in the alternative, Motion for
                                                                        23
                                                                             Partial Summary Judgment, as well as the exhibits, the Separate Statement of
                                                                        24
                                                                             Uncontroverted Facts, and declarations filed therewith, it is hereby ORDERED and
                                                                        25

                                                                        26   ADJUDGED that good cause having been shown, the Motion for Summary

                                                                        27   Judgment is granted in its entirety.
                                                                        28
                                                                             ______________________________________________________________________________
                                                                              (PROPOSED) ORDER ON MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION
                                                                                                      FOR PARTIAL SUMMARY JUDGMENT
                                          Case 2:19-cv-08109-SVW-MAA Document 46-20 Filed 10/26/20 Page 2 of 2 Page ID #:499




                                                                         1         Accordingly, Judgment is hereby entered in favor of defendant COUNTY
                                                                         2   OF LOS ANGELES and against plaintiff. Defendant is therefore entitled to seek
                                                                         3
                                                                             recovery of its costs.
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                                                                                   IT IS SO ORDERED.

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                                                                             Dated:
                                                                         9                                              Hon. Steven V. Wilson
                                                                                                                        United States District Court Judge
                                                                        10

                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




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                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




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                                                                              (PROPOSED) ORDER ON MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION
                                                                                                      FOR PARTIAL SUMMARY JUDGMENT
